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lN THE UNlTED STATES DlSTRlCT COURT FH'ED EV -E DC-
FOR THE WESTERN DlSTR|CT OF TENNESSEE 05 AU
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UN|TED STATES OF Al\/|ERlCA, *
Plaintiff, *
vs. * Criminal No. 03-20280-B
l\/llCHAEL FALL|NG SW|TZER, *
Defendant. *

 

PREL|MINARY ORDER OF FORFE|TURE

 

ln indictment Number 03-20280-3, the United States sought forfeiture of specific
property ofdefendant l\/lichael Falling Switzer, pursuant to 18 U.S.C. § 2252. On October
23, 2003, the defendant, l\/lichael Falling vaitzer, entered a plea of guilty to Counts 1, 2
and 3 of the lndictment.

Accordingly, it is ORDERED:

1. Based upon the defendants guilty plea to Counts 1, 2 and 3 of the
lndictment Number 03-20280-B, the United States is authorized to seize the following
property belonging to defendant Michael Falling SWitzer, and his interest in it is hereby
forfeited to the United States for disposition in accordance With the law, subject to the
provisions of 21 U.S.C. §853(n) and Rule 32(d)(2) of the Federal Ru|es of Criminal
Procedure:

a. Any visual depiction described in Section 2252 of Title 18 United
States Code, and any book, magazine, periodical1 firrn, videotape, and other matter Which
contains any such visual depiction, which Was produced, transported, mailed, shipped, or

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received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross
profits or other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit
or to promote the commission of the above said offenses, including but not limited to the
following:

‘l) One (1) Hewlett Packard Lap Top
Computer, SN-TW24619292;

2) One (1) Toshiba TECRA 8000 Computer,
SN-59725223A;

3) Seventy-Two (72) 1.44|\/|B Floppy Diskettes;
4) Eighty-Five (85) Compact Disks (CDs).

All pursuant to Title 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States l\/larshal in his
secure custody, or, as may be necessary, the Attorney General may appoint a substitute
custodian

3. Pursuant to 21 U.S.C. §853(n)(1), the United States l\/larsha| shall publish at
least once a week for three successive weeks in a newspaper of general circulation in
Shelby County, Tennessee, notice of this order, notice of the United States’ intent to
dispose of the property in such manner as the Attorney General or his delegate may direct,
and notice that any person, other than the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must file a petition with the court within thirty
(30) days ofthe final publication of notice or of receipt ofactual notice, Whichever is earlier.
This notice shall state that the petition shall be fora hearing to adjudicate the validity ofthe

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petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioner’s claim
and the relief sought The United States l\/larshal or his delegate may use the attached
Legal Notice.

The United States may also, to the extent practicable, provide direct Written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so
noUHed.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

5. lf no third party files a timely claim, this Order shall become the Fina| Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

6. The United States shall have clear title to the Subject Property following the
Court’s disposition of all third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and
28 U.S.C. §2461(c), for the filing of third party petitions

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

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necessary, pursuant to Fed. R. Crim. P 32. 2(e e)

|T |S SO ORDERED this §§ day ofA'v-U>u:_> 2005.

aaa

J DA lEL BREEN
ited tates District Judge\

PRESENTED BV:

TERRELL L. l-lARRlS
United States Attorney

WEU/

lSTOPl-IER E. COTTEN
Cssistant United States Attorney

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lN THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
WESTERN D|ViS|ON

 

 

UN|TED STATES OF AMER|CA, *
Plaintiff, *
vs. * Criminal No. 03-20280-B
l\/llCHAEL FALL|NG SW|TZER, *
Defendant. *
LEGAL NOT|CE
Take notice that on , the United States District Court for the

 

Western District ofTennessee, Western Division, entered a Pre|iminary Order of Forfeiture
ordering that all right, title and interest of the defendant |Vlichael Falling Switzer in the
following property be forfeited to the United States to be disposed of in accordance with
law:

a. Any visual depiction described in Section 2252 of Title 18 United States
Code, and any book, magazine, periodicalr firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property, real or personalr constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit or to

promote the commission of the above said offenses, including but not limited to the

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following:

1) One (1) Hewlett Packard Lap Top
Computer, SN-TW24619292;

2) One (1) Toshiba TECRA 8000 Computer,
SN-59725223A;

3) Seventy-Two (72) 1.44[\/|B Floppy Diskettes;

4) Eighty-Five (85) Compact Disks (CDs).

Al| pursuant to Title 18, United States Code, Section 2253.

The United States intends to dispose ofthis property in such matter as the Attorney
General or his delegate may direct Any person, other than the defendant having or
claiming a legal interest in the above-listed forfeited property must file a petition with the
Court within thirty (30) days of the final publication of this notice or of receipt of actual
notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of
the petitioner's alleged interest in the property, shall be signed by the petitioner under
penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, title, or
interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and relief sought

 

ISICT COURT - WESERNT D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:03-CR-20280 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

Fed. Public Defender
200 Jefferson7 Suite 200
Memphis7 TN, TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

